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                  Exhibit 1
                      Case
                       Case1:23-cr-00239-CKK
                             1:22-mj-01280-UA Document
                                               Document21-1
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DOCKET No. _2__
             2"'-M=a..,_g.'-'1"""2-"--80,a___ _ _ _ __              DEFENDANT Heather Rhiannon Morgan
                                                                                                                 ORIGINAL
AUSA Maggie Lynaugh                                                                      s...               E...,nz..,e...r~~~~------
                                                                    DEF.'S COUNSEL ..... am......_so,.,.n......
                                                                    '21 RETAINED D FEDERAL DEFENDERS • CJA D PRESENTMENT ONLY
• ________ INTERPRETER NEEDED
                                                                             • DEFENDANT WAIVES PRETRIAL REPORT
D Rule 5 D Rule 9 '21 Rule 5(c)(3) D Detention Hrg.                     DATE OF ARREST 2/8/2022       • voL.sURR.
                                                                        TIME OF ARREST =7:00 am       • ON WRIT
D Other:                                                                TIME OF PRESENTMENT 5:00 pm
             ---------------
                                                          BAIL DISPOSITION
                                                                                                                     0 SEE SEP. ORDER
0 DETENTION ON CONSENT W/0 PREJUDICE                               O DETENTION: RISK OF FLIGHT/DANGER O SEE TRANSCRIPT
•• DETENTION  HEARING SCHEDULED FOR:
   AGREED CONDITIONS OF RELEASE      ---------
 • DEF. RELEASED ON OWN RECOGNIZANCE
'21 $ 3 million  BOND    '21 __2_FRP
'2J SECURED BY $_ _ _ _ _ _ CASH/PROPERTY: property: parents' residence at 280 5th St., Tehoma, CA 96090
121TRA VEL RES TRICTED TO SONY/EDNY/ Diotrict ofColUJDbia, end pointa in between for PlllJ>O!eS of travel to Court
• TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
121 SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

• PRETRIAL SUPERVISION: 0 REGULAR '21 STRICT O AS DIRECTED BY PRETRIAL SERVICES
121 DRUG TESTING/TREATMT AS DIRECTED BY PTS O MENTAL HEALTH EV AL/TREATMT AS DIRECTED BY PTS
•'21 DEF.TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT
     HOME INCARCERATION    O HOME DETENTION O CURFEW O STAND ALONE MONITORING
121 LOCATION MONITORING TECHNOLOGY AS DIRECTED BY PTS       O GPS
'2J DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES
• DEF.TO CONTINUE OR SEEK EMPLOYMENT [OR] • DEF.TO CONTINUE OR START EDUCATION PROGRAM
0 DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON
'21 DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
0 DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,· REMAINING CONDITIONS TO BE MET BY: _ _ _ __                ----------
ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

Defendant to have no devices with internet connectivity except one specific device, with software installed by PTS, with
computer monitoring
Def not to engage in any cryptocurrency transctions
Def not to dissipate or move any assets greater than $10,000 per month (except that this cap can be exceeded with PTS
approval). There is a carve-out for legal fees, for which the Def can spend up to $500,000; accounts to dispense must be
reported to PTS.


•• DEF. ARRAIGNED; PLEADS NOT GUILTY
   DEF.WAIVES INDICTMENT
                                                            O CONFERENCE BEFORE D.J. ON
                                                                                        ------
 • SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL _ _ _ __
For Rule 5(c)(3) Cases:
'21 IDENTITY HEARING WAIVED                                        0 DEFENDANT TO BE REMOVED
121 PRELIMINARY HEARING IN SONY WAIVED                         • CONTROL DATE FOR REMOVAL: - - - - - -
PRELIMINARY HEARING DATE:               2/22/2022                  121 ON DEFENDANT'S CONSENT

DATE: 2/8/2022                                                                            ff'~~
                                                                            UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.
.filIIIE (original)-COURT FILE    flliK- U.S. ATIORNEY' S OFFICE                 - U.S. MARSHAL       QR.E!ili - PRETRIAL SERVICES AGENCY
Rev'd 2016
